           Case 2:10-cr-00517-KJM Document 44 Filed 06/21/11 Page 1 of 3


1    u      LAW OFFICES OF
           WING & PARISI
2     A PROFESSIONAL CORPORATION
             1101 E STREET
3        SACRAMENTO, CA 95814
                      441-4888
                 State Bar #063214
4

5    ATTORNEYS FOR:            Defendant
6

7

8                                     IN THE UNITED STATES DISTRICT COURT

9                                    FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA                          No.   2:10-cr-00517 KJM
12                                      Plaintiff,      STIPULATION AND ORDER
            v.                                          CONTINUING STATUS CONFERENCE
13
                                                        FROM JUNE 23, 2011 AT 10:00 TO
14                                                      AUGUST 25, 20011 AT 10:00 AM
      HENRY KHENG HO
15                                    Defendant,

16

17           It is hereby stipulated by and between Plaintiff, United States of America and

18   Counsel for Defendant HENRY KHENG HO, and Counsel for Defendant GUAN ZHANG
19   LUO, that the Status Conference scheduled for June 23, 2011 at 2:30 PM be continued to
20
     August 25, 2011, at 10:00 am.
21
             This request is made on the ground that defense counsel is engaged in continuing
22
     investigation of the case and is in the process of providing additional information for the
23

24   government to consider as part of the resolution process. Further, Defendant HENRY

25   KHENG HO has been severely ill for over three weeks and has been recently released from

26   Sutter Hospital after spending two days there. He suffers from significant liver problems
27
     which have been diagnosed for over a year, and this latest attack has been a significant
28
     impediment to proceeding on the investigation and providing documentation to the

     ///                                                1
                        Case 2:10-cr-00517-KJM Document 44 Filed 06/21/11 Page 2 of 3


              1   government in the time frame previously requested. This time will allow the defense to
              2   cRPSOHWHLWVLQYHVWLJDWLRQDQGWRIROORZXSRQ'HIHQGDQW+(15<.(1*+2¶6PHGLFDO
              3
                  situation.
              4
                         The government and defendants agree that exclusion of time is appropriate under 18
              5
                  U.S.C. § 3161(h)(7)(B)(iv), Local Code T4 [reasonable time to prepare], and further agree
              6

              7   that this exclusion of time includes the period from June 23, 2011 up to and including

              8   August 25, 2011.

              9          Counsel for the government, Assistant United States Attorney Todd D. Leras, and
            10
                  counsel for Defendant GUAN ZHANG LUO, John E. Virga, agree to this request and have
            11
                  authorized Counsel for Defendant HENRY KHENG HO, Christopher H. Wing, to sign this
            12
                  stipulation on their behalf.
            13

            14
                  Dated: June 20, 2011                              By: /s/ Christopher H. Wing
            15                                                                CHRISTOPHER H. WING
                                                                              Attorney for Defendant
            16                                                                HENRY KHENG HO
            17

            18
                  Dated: June 20, 2011                              By: /s/ Christopher H. Wing
            19                                                                JOHN E. VIRGA
                                                                              Attorney for Defendant
            20                                                                GUAN ZHANG LUO
            21

            22    Dated June 20, 2011                               By: /s/ Christopher H. Wing
                                                                             TODD D. LERAS
            23                                                               Assistant U.S. Attorney

            24                                                 //
            25                                                 //
            26
                                                               //
            27
                                                               //
            28
LAW OFFICES OF
WING & PARISI
SACRAMENTO, CA.   ///
                                                                    2
                        Case 2:10-cr-00517-KJM Document 44 Filed 06/21/11 Page 3 of 3


              1                                              ORDER
                         IT IS ORDERED THAT:
              2

              3          The status conference set for June 23, 2011 at 10:00 a.m. is vacated and reset for

              4   August 25, 2011 at 10:00 a.m. Pursuant to the stipulations and representations of the

              5   parties, the Court finds that the ends of justice outweigh the best interest of the public and
              6   defendants in a speedy trial, and that time under the Speedy Trial Act shall be excluded
              7
                  under 18 U.S.C § (h)(7)(B)(iv) and Local Code T4 from June 23, 2011 up to and including
              8
                  August 25, 2011.
              9

            10
                  Dated: June 21, 2011.
            11
                                                                       UNITED STATES DISTRICT JUDGE
            12

            13

            14

            15

            16

            17

            18

            19

            20

            21

            22

            23

            24

            25

            26
            27

            28
LAW OFFICES OF
WING & PARISI
SACRAMENTO, CA.   ///
                                                                  3
